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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

JOANNE DEPALO, individually           )
and on behalf of all others similarly )
situated,                             )
                                      )        CAUSE NO. 1:21-CV-04779-LMM
                  Plaintiff,          )
                                      )
v.                                    )
                                      )
BUFFALO WILD WINGS, INC.              )
and BUFFALO WILD WINGS                )
INTERNATIONAL, INC.,                  )
                                      )
                  Defendants.         )

       JOINT STATUS REPORT AND MOTION TO EXTEND STAY

      Plaintiff JoAnne DePalo (“Plaintiff”) and Defendants Buffalo Wild Wings,

Inc. and Buffalo Wild Wings International, Inc. (“Defendants”) (collectively “the

Parties”), through their undersigned counsel, move this Court to stay all proceedings

in this matter for an additional 120 days, through January 16, 2023. The reasons for

this Motion are as follows.

                                        I.

      This case is a putative collective action on behalf of tipped employees at

Defendants’ restaurants, asserting claims under the Fair Labor Standards Act’s

(“FLSA”) “tip credit” provisions. See 29 U.S.C. § 203(m). Under the FLSA’s tip-

credit provisions, an employer may pay tipped employees less than the federal

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minimum wage of $7.25 by taking a tip credit based on the tips that the employees

receive from customers. See Plaintiff’s Original Complaint, Dkt. No. 1 at ¶¶ 2-9. In

particular, Plaintiff alleges that Defendants required her and the proposed Collective

Action Members to perform activities unrelated to their work as tipped employees

and failed to pay them the full minimum wage for that time. Id. at ¶ 6. Additionally,

Plaintiff claims that Defendants may not take advantage of the tip credit when an

employee performs non-tipped work that is related to the employee’s tipped duties,

if such work exceeds 20 percent of the employee’s time during a workweek or for

extended periods of time during the week when no tip generating activity is

performed. Id. at ¶¶ 7-8. Plaintiff alleges that she and other employees performed

non-tipped work in excess of 20 percent of their work time during some workweeks

and spent continuous periods of time in excess of 30 minutes on some days when

they did not perform any tip generating work. See id. at ¶ 8.d. Defendants deny

Plaintiff’s allegations.

      After Plaintiff filed this lawsuit, Plaintiff’s Counsel and Defendants’ Counsel

engaged in informal discovery into the merits of the Plaintiff’s claims and the

potential damages that could be owed. Defendants provided sample pay, time, and

point of sale data from the existing pool of Opt-In Plaintiffs to Plaintiff’s Counsel.

Plaintiff’s Counsel then reviewed that data and submitted an expert report (along


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with a settlement proposal) to Defendants. Afterwards, the Parties scheduled an in-

person settlement conference. In particular, on September 8, 2022, the Parties met

in person for more than two hours and discussed a framework for settlement. As a

result of their meeting, the Parties reached an agreement as follows:

      • Defendants will provide additional representative samples of the point of

         sale data, pay data, and time data for the potential Collective Action

         Members that will be used by both sides to calculate the potential damages

         that could be owed;

      • Plaintiff will provide a damage model and settlement offer to Defendants

         within four weeks of mediation;

      • The parties will mediate with Mediator Hunter Hughes in Atlanta on

         January 12 and 13 to discuss a potential settlement.

      In light of the efforts they have made to date, the Parties believe that they are

working together in good faith towards a resolution and would like to continue their

efforts to potentially explore a resolution to this case. The Parties have made

significant progress since they last sought a stay, including exchanging expert

analyses and conducting an in-person settlement conference. However, the Parties

require additional time to determine if a settlement can be reached.

                                         II.


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      Accordingly, the Parties agree to request an extension of the stay of all

discovery and litigation proceedings to January 16, 2023 in order to complete their

informal discovery and participate in mediation. Within ten days thereafter, by

January 26, 2023, the Parties will file a status report with the Court updating the

Court on the status of the case including the results of mediation. The Parties will

also propose a new date for Defendants to file a responsive pleading.

      This Motion for Extension of Time is without prejudice to any party’s claims

or defenses in this case. The stay is to simplify the issues in the case and achieve

efficient use of resources – either the case will be resolved following the stay, or, at

a minimum, the issues will be narrowed for litigation. Finally, there is no pending

trial date and no formal discovery has begun. As such, the Court may properly

exercise its discretion here to grant the Parties’ requested stay.

      A proposed Order is filed herewith.

Dated: September 16, 2022

Respectfully submitted by,

/s/ Don J. Foty                                 s/ Brett E. Coburn
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                                               and BUFFALO WILD WINGS
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CLASS MEMBERS



                         CERTIFICATE OF SERVICE

      This is to certify that on September 16, 2022, a copy of the foregoing was

served upon all parties via the Court’s ECF.


                                                     /s/ Don J. Foty
                                                    Don J. Foty




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